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 1 TRINETTE G. KENT (State Bar No. 222020)
 2 KENT LAW OFFICES
   10645 North Tatum Blvd., Suite 200-192
 3 Phoenix, AZ 85028
 4 Telephone: (480) 247-9644
   Facsimile: (480) 717-4781
 5 E-mail: tkent@kentlawpc.com
 6
   Of Counsel to:
 7
   Nitzkin & Associates
 8 22142 West Nine Mile Road
   Southfield, MI 48033
 9
   Telephone: (248) 353-2882
10 Facsimile: (248) 353-4840
11
   Attorneys for Plaintiff,
12 Anthony Owens
13
                       IN THE UNITED STATES DISTRICT COURT
14
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                  WESTERN DIVISION
16
17 Anthony Owens,                              Case No.:

18                  Plaintiff,
19
          vs.                                  COMPLAINT
20
21 Experian Information Solutions, Inc.,
   an Ohio corporation.                        JURY TRIAL DEMAND
22
23                Defendant.
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 1        NOW COMES THE PLAINTIFF, ANTHONY OWENS, BY AND
 2
     THROUGH COUNSEL, TRINETTE g. KENT, and for his Complaint against the
 3
 4 Defendant, pleads as follows:
 5                                    JURISDICTION
 6
       1. Jurisdiction of this court arises under 15 U.S.C. §1681p, 15 U.S.C. §1692k(d)
 7
 8        and 28 U.S.C. §§1331,1337.
 9
       2. This is an action brought by a consumer for violation of the Fair Credit
10
11        Reporting Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).

12
                                            VENUE
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14     3. The transactions and occurrences which give rise to this action occurred in the
15
          City of Burbank, Los Angeles County, California.
16
17     4. Venue is proper in the Central District of California, Western Division.

18                                        PARTIES
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20     5. The Defendant to this lawsuit is Experian Information Solutions, Inc.
21
          (“Experian”), which is an Ohio company that maintains a registered agent in
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23        Los Angeles County, California.

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 1                           GENERAL ALLEGATIONS
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      6. On or about August 13, 2014, Plaintiff obtained his Experian credit file and
 3
 4       noticed inaccuracies on the following trade lines (“Errant Trade Lines”):
 5          a.   Bank of America, Account Number: 488893299738XXXX;
 6          b.   Bureau of Medical Economics, Account Number: 477XXXX;
            c.   Grant & Weber, Account Number: 00787XXXX;
 7
            d.   Grant & Weber, Account Number: 00929XXXX;
 8          e.   Healthcare Collections, Account Number: 477XXXX;
 9          f.   HSBC, Account Number: 632260910221XXXX;
            g.   Midland Credit Management, Account Number: 854599XXXX;
10          h.   Midland Credit Management, Account Number: 855027XXXX;
11          i.   Midland Credit Management, Account Number: 856185XXXX; and
12          j.   RSI Enterprises, Account Number: 599XXXX.

13    7. On or about August 24, 2014, Mr. Owens submitted a letter to Experian,
14
         disputing the Errant Trade Lines.
15
16    8. On or about September 3, 2014, Mr. Owens received a letter from Experian,
17       stating that it received a suspicious request and determined that it was not sent
18
         by Mr. Owens. Experian stated that it would not be initiating any disputes
19
20       based on the suspicious correspondence and that it would apply this same
21
         policy to any future suspicious requests that it received.
22
23    9. Experian refused to investigate Mr. Owens’s dispute, in violation of the Fair

24       Credit Reporting Act.
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 1                                       COUNT I
 2
      NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
 3                        BY EXPERIAN
 4
      10.Plaintiff realleges the above paragraphs as if recited verbatim.
 5
 6    11.Defendant Experian prepared, compiled, issued, assembled, transferred,
 7
         published, and otherwise reproduced consumer reports regarding Mr. Owens as
 8
         that term is defined in 15 USC 1681a.
 9
10    12.Such reports contained information about Mr. Owens that was false,
11
         misleading, and inaccurate.
12
13    13.Experian negligently failed to maintain and/or follow reasonable procedures to

14       assure maximum possible accuracy of the information it reported to one or
15
         more third parties pertaining to Mr. Owens, in violation of 15 USC 1681e(b).
16
17    14. After receiving Mr. Owens’s consumer dispute to the Errant Trade Lines,
18       Experian negligently failed to conduct a reasonable reinvestigation as required
19
         by 15 U.S.C. 1681i.
20
21    15.As a direct and proximate cause of Experian’s negligent failure to perform its
22
         duties under the FCRA, Mr. Owens has suffered actual damages, mental
23
24       anguish and suffering, humiliation, and embarrassment.

25    16.Experian is liable to Mr. Owens by reason of its violation of the FCRA in an
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         amount to be determined by the trier fact together with his reasonable attorneys’
27
28       fees pursuant to 15 USC 1681o.
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 1         WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment
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     against Experian for actual damages, costs, interest, and attorneys’ fees.
 3
 4                                         COUNT II
 5        WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
 6                           BY EXPERIAN

 7      17.Plaintiff realleges the above paragraphs as if recited verbatim.
 8
        18.Defendant Experian prepared, compiled, issued, assembled, transferred,
 9
10         published, and otherwise reproduced consumer reports regarding Mr. Owens as
11         that term is defined in 15 USC 1681a.
12
        19.Such reports contained information about Mr. Owens that was false,
13
14         misleading, and inaccurate.
15
        20.Experian willfully failed to maintain and/or follow reasonable procedures to
16
17         assure maximum possible accuracy of the information that it reported to one or

18         more third parties pertaining to Mr. Owens, in violation of 15 USC 1681e(b).
19
        21. After receiving Mr. Owen’s consumer dispute to the Errant Trade Lines,
20
21         Experian willfully failed to conduct a reasonable reinvestigation as required by
22         15 U.S.C. 1681i.
23
        22.As a direct and proximate cause of Experian’s willful failure to perform its
24
25         duties under the FCRA, Mr. Owens has suffered actual damages, mental
26
           anguish and suffering, humiliation, and embarrassment.
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                                                 5
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 1      23.Experian is liable to Mr. Owens by reason of its violations of the FCRA in an
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           amount to be determined by the trier of fact together with his reasonable
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 4         attorneys’ fees pursuant to 15 USC 1681n.
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 6
           WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment
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 8 against Experian for the greater of statutory or actual damages, plus punitive damages,
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     along with costs, interest, and attorneys’ fees.
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11
12                                      JURY DEMAND
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           Plaintiff hereby demands a trial by Jury.
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16 DATED: June 23, 2016
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                                                      KENT LAW OFFICES
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20                                               By:     /s/ Trinette G. Kent
21                                                        Trinette G. Kent
                                                          Attorneys for Plaintiff,
22                                                        Anthony Owens
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